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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA




   PATRICK GAYLE, et al.                                                 Case No. 20cv21553

   Petitioners,

   v.

   MICHAEL W. MEADE,
   Field Office Director, Miami Field Office, U.S.
   Immigration and Customs Enforcement et al.,

   Respondents.

   ______________________________________________

                       DECLARATION OF ACTING OFFICER IN CHARGE
                                  LIANA J. CASTANO

   I, Liana J. Castano, Acting Officer in Charge (OIC), make the following statements under oath and
   subject to the penalty of perjury:

          1. I am employed by U.S. Department of Homeland Security (DHS), Immigration and
             Customs Enforcement (ICE), and currently serve as the Acting OIC of the Krome
             Service Processing Center (Krome). I am also an Assistant Field Office Director
             (AFOD) at Krome. I have held this position since September 2, 2018.

          2. I provide this declaration based on my personal knowledge, belief, reasonable inquiry,
             and information obtained from various records, systems, databases, other DHS
             employees, employees of DHS contract facilities, and information portals maintained
             and relied upon by DHS in the regular course of business. This declaration responds to
             item 2(i) of the court’s order of June 5, 2020 and is applicable to Krome, Broward
             Transitional Center (BTC), and Glades County Detention Center (Glades).

          3. Between July 10, 2020 and July 17, 2020 at 11:00 a.m., ICE released, transferred or
             removed a total of 67 detainees. Those detainees were released, transferred or
             removed from the following facilities: 28 detainees from Krome, 9 detainees from
             Glades and 30 detainees from BTC.




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         4. The nature of the 28 cases from Krome are as follows:
               a. 6 detainees were released on bond.
               b. 9 detainees were removed from the United States.
               c. 1 detainee departed the United States voluntarily.
               d. 3 detainees were released on an order of supervision subsequent to a
                   procedural ERO custody review.
               e. 6 detainees were transferred to be staged for a scheduled removal flight.
               f. 1 detainee was transferred to BTC based on risk classification and bed space
                   needs after a custody re-evaluation.
               g. 2 detainees were transported to a local hospital for evaluation and treatment.

         5. The nature of the 9 cases from Glades are as follows:
               a. 2 detainees were released on bond.
               b. 1 detainee was released on an order of supervision subsequent to a procedural
                   ERO custody review.
               c. 2 detainees were released from ERO custody after an immigration judge
                   granted relief.
               d. 3 detainees were transferred from Glades to Krome based upon risk
                   classification and bed space needs after a custody re-evaluation.
               e. 1 detainee was transported to a local hospital for evaluation and treatment.

         6. The nature of the 30 cases from BTC are as follows:
               a. 8 detainees were removed from the United States.
               b. 4 detainees were turned over to another law enforcement agency.
               c. 2 detainees were released on an order of supervision subsequent to a
                   procedural ERO custody review
               d. 16 detainees were transferred to be staged for a scheduled removal flight.



                                                    Digitally signed by LIANA J CASTANO

   DATED: July 17, 2020,       _____________________________________
                                                  Date: 2020.07.17 15:52:31 -04'00'


                               Liana J. Castano
                               Assistant Field Office Director
                               Enforcement and Removal Operations
                               U.S. Immigration and Customs Enforcement




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